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8
                          UNITED STATES DISTRICT COURT
9
                         EASTERN DISTRICT OF CALIFORNIA                             JS-6
10
      SHARON HARDIN, individually and
                                 ) Case No. 17-cv-01518-ODW-JPR
11
                                 )
      all others similarly situated,
12                               )
13
      Plaintiffs,                ) xxxxxxxxxxxxxxxxx
                                   [PROPOSED] ORDER OF
                                 ) DISMISSAL
14
             vs.                 )
15                               )
      TRUEACCORD CORP; DOES 1-10 )
16
      Inclusive.                 )
17                               )
18
      Defendant.                 )
                                 )
19
            IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,
20
      this matter is dismissed in its entirety, with prejudice as to the named Plaintiff,
21
      Sharon Hardin, and without prejudice as to the Putative Class alleged in the
22
      complaint, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each
23
      party shall bear their own costs and attorneys’ fees.
24

25
                                                 Dated this 11th day of July 2017
                                                 Dated
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                                                _______________________________
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                                                 ________________________________
                                               The Honorablee JJudge Otis
                                                                udge Otis D. Wright, II


                                      [Proposed]Order to Dismiss - 1
